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       1                       UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
       2                              MIAMI DIVISION
       3                      CASE NUMBER 16-20893-CR-MORENO
       4
           UNITED STATES OF AMERICA,
       5
                          Plaintiff,                         Courtroom 13-3
       6
              vs.                                            Miami, Florida
       7
           MONTY RAY GROW,                                   February 2, 2018
       8
                        Defendant.
       9   __________________________________________________________________
      10                        JURY TRIAL PROCEEDINGS
                       BEFORE THE HONORABLE FEDERICO A. MORENO
      11                     UNITED STATES DISTRICT JUDGE
           _______________________________________________ ___________________
      12
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       1       (The following proceedings were held at 12:00 p.m. outside

       2   the presence of the jury:)

       3             THE COURT:    Good morning, everybody.       The defendant is

       4   present, defense counsel, Government counsel.

       5             I have a note which is of no consequence, but as usual

       6   I will tell you.    You can sit down.         We will bring the jurors

       7   out.    It says, can we order lunch, please?         So what I'm going to

       8   do is -- can I throw this out, no objection?           We don't need to

       9   clutter the record with that.      It's already kind of cluttered.

      10             So what I'm going to do is I'm going to tell them to go

      11   out to lunch.   So that means you've got to be extra careful.            No

      12   contact with the jurors.     Sometimes people need to stretch out

      13   and do whatever they want.     So like at 12:15, I'll tell them --

      14   I'll give them back their phones and tell them to come back at

      15   1:15.   They can go outside.    They are probably tired of the food

      16   that we bring up from downstairs and people sometimes like

      17   different types of food, which is normal.

      18              So that means don't hang around the courthouse.        Don't

      19   have any contact with them under the pain of contempt;

      20   interested parties, family, relatives, agents, lawyers,

      21   everybody, unless you want free room and board for a long time.

      22   So that's what we'll do.

      23             Any problems from the Government?

      24             MR. LARSEN:   No, Your Honor.

      25             THE COURT:    Any issues from the defendant?
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       1              MR. RASHBAUM:   No, Your Honor.

       2               THE COURT:   Okay.    Bring out the jurors.

       3      (The jury entered the courtroom at 12:01 p.m.)

       4               THE COURT:   Thank you, folks.         You are all here.   All

       5   the jurors are present.

       6              I got your note.      Please, be seated.      What I'm going to

       7   do with you all is I'm going to give you your lunch.            So you can

       8   go out, get different types of food.             Look at that, Mr. Jones

       9   just went like that, Mr. Jones, junior, and senior, too.               Both

      10   of them.     Okay.   That way you choose whatever you want to eat.

      11   You can eat together, separately, two, three.

      12              The thing you cannot do while you go out to lunch is

      13   talk about the case.     You can talk about whatever you want, but

      14   not the case.    It's very important.           It's not typical.   I've

      15   done it before, especially when we go into second, third day of

      16   jury deliberations, because sometimes what you need is just time

      17   off.   You know, you're together, I suspect getting along, but

      18   going through everything, which is the right thing to do, and

      19   you'll be working right through lunch, and sometimes -- I've

      20   done it.     I guess in this trial I did it, but normally, I would

      21   rather go out to eat lunch.        So I find that refreshing, and I

      22   think an hour is enough.      So don't go to the Constitution Cafe.

      23   That's where all the sandwiches come from.             Though they have

      24   more selection, too, but you might as well go outside wherever

      25   you want.    If you go on Flagler Street, there are a couple of
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       1   restaurants.    Around the college, there are fast food places, a

       2   lot of Caribbean food.       There's even Indonesian food a couple of

       3   blocks away if you're adventuresome.             If you go all the way to

       4   Bayside, there are all kinds of places.             You decide where you

       5   want to go, but come back.       And if you come back at 1:15, that

       6   should give you enough time to do whatever you want.             Any

       7   problems with that?

       8               But don't talk about the case.          See, two of you will go

       9   to lunch.     Hey, let go.    Don't.   It's not fair.       You've gone

      10   this far.    It's kind of dumb now to violate the rules, okay, to

      11   read something.

      12               The parties and the people involved in the case, they

      13   know about my rules.     So they're not going to bother you.           Wear

      14   your juror badges around downtown because they may not realize

      15   you're a juror, and they can talk about the case if they want

      16   to, but they can't talk to you.        So I don't want anybody to do

      17   something inadvertently.

      18               All right.   Is that all right?         Is that a good idea for

      19   you all?     Everybody is nodding their head up and down.          See,

      20   I've learned something in my years with jurors.

      21               Then 1:15.   Remember, you've got to wait for the 12th

      22   person to get there before you begin your deliberations.               We are

      23   not going to take everything out and bring you back except for,

      24   in the envelope, the Verdict Form.             That's the only thing

      25   Shirley is going to take, and that will be your cue when the
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       1   12th person comes in, I want to say the clock starts ticking,

       2   but there's really no clock.       It's whatever you all want.        Okay?

       3               All righty.    Have a good lunch.

       4               THE COURT SECURITY OFFICER:         All rise.

       5               THE COURT:    Let them go now.       We'll make these people

       6   stay here.

       7      (The jury retired from the courtroom at 12:04 p.m.)

       8               THE COURT:    All right.    Instead of my usual five-minute

       9   rule, let's make it 10 minutes, because they probably will go to

      10   the bathroom, they get their phones and they slowly get out of

      11   here.

      12             Please, not even an inadvertent contact with the

      13   jurors.   You don't want to do that.           You really don't.   So just

      14   sit here.    You don't even have to talk to each other since,

      15   obviously, you're not, but you've got to sit here and wait, all

      16   of you, everyone who's in the courtroom, for 10 minutes, and

      17   then go to lunch wherever you want.

      18               If for some reason you see the jurors, you're all

      19   professionals; and those who are not, even if you like one side

      20   or the other, you know it's not worth messing around with that.

      21               Okay?   Anything else?     No announcements of any type?

      22             Okay.     Have a good afternoon.

      23             What do we do?      I don't know.       This is the first time I

      24   have failed miserably with the scheduling.            Usually something

      25   happens when I say.       So my record is broken, but I think I have
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       1   to set a time to make sure everybody knows.

       2             I'm swearing in a lawyer at 3:00 and starting a bench

       3   trial on attorney's fees.     So let's say be here a little bit --

       4   five minutes of 3:00, in case there's something.        If there's

       5   nothing, I make one lawyer on each side and the defendant come

       6   in, but that's not that big of a burden considering all the work

       7   you've all done.

       8             All right?    So see you a little bit before 3.

       9             MR. LARSEN:   Thank you, Judge.

      10      (A recess was taken at 12:06 p.m. and the following

      11   proceedings were held at 3:25 p.m. outside the presence of the

      12   jury:)

      13             THE COURT:    We have a bench trial, but first we have

      14   absolute -- we're back with the defendant, defense counsel,

      15   Government counsel on the Grow case, our third day of jury

      16   deliberations with no verdict.

      17             Sometimes when jurors are out for that long, we never

      18   hear what -- people in chambers, when I walk out, you can't ever

      19   understand what they say, but sometimes you hear when there are

      20   loud noises and yelling, and this is the softest-spoken jury.

      21   If you put your ear to the door, you couldn't hear a peep, which

      22   in my experience signifies a hung jury.       They haven't said that

      23   yet, but that's what I think is happening.

      24             So what I suggest we do today -- you can sit down for a

      25   second while Mr. Vila suits up, literally.
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       1             I think what we can do is bring out the jurors, ask

       2   them, how are you doing?     Today we're going to work till five.

       3   They can come back Monday; see what their reaction is.          And then

       4   I thought about telling them, if you have reached any decision

       5   on any count, you can take partial verdicts.        That's certainly

       6   acceptable.   I don't know if they have or not.      They could be

       7   hung on all the counts.     I don't know.     But the way the

       8   questions -- the reason I say that, based on the questions that

       9   they have asked, it seems like they are going in some order and

      10   they didn't want us to touch or my staff to touch their papers.

      11   So they're obviously very organized and very thoughtful and

      12   you've all selected a very good jury, it seems to me, whatever

      13   the outcome is.    But to let them know that to see if that's an

      14   issue.   Once I tell them, you're going to come back on Monday,

      15   to see if they say, okay, no problem, then there's no problem.

      16   If they tell us, well, we've got some, but we don't really have

      17   anything, then take all the time you want, like I told them.

      18   I'm doing a jury trial on Monday, but we can find other rooms.

      19   There's no problem.    We'll let them do that.

      20             So that seems to be what I've done before that has been

      21   approved, and I assume there are no problems from the

      22   Government?

      23             MR. JUENGER:    None, Your Honor.

      24             THE COURT:   From the defense?

      25             MR. RASHBAUM:    Judge, we would object to that.
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        1            THE COURT:    Of course.    I know you would.       But why?

        2   Partial verdicts are legitimately acceptable.

        3            MR. RASHBAUM:    Judge, we've got --

        4            THE COURT:    And then you would know something.

        5   Sometimes they're not guilty, and you find out what it is.

        6   Isn't that what happened with Senator Menendez in New Jersey?

        7   And then the Government dismissed.           I'm not suggesting the

        8   Government would do that, because we already have the next trial

        9   date that accommodates you.     So it doesn't hurt the defendant.

       10   If it's a guilty verdict, sometimes the Government also

       11   dismisses the other counts.     That has been my experience, but

       12   they don't have to, and at least they know that they've

       13   accomplished something.    I would never send them home or send

       14   them away, and maybe they don't know that they can tell us,

       15   look, we can't keep going.     So I'm going to give them an

       16   opportunity because it's the third day.

       17            So what's your objection and your authority behind the

       18   objection?

       19            MR. RASHBAUM:    Judge, my objection is the jury is

       20   deliberating.   They haven't come out with any questions.

       21            THE COURT:    Oh, they've come out with a bunch of

       22   questions.

       23            MR. RASHBAUM:    They haven't come up with any questions

       24   saying they're deadlocked.

       25            THE COURT:    They haven't done that.
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        1            MR. RASHBAUM:    They haven't come out with any questions

        2   saying they've determined any counts.

        3            THE COURT:    Oh, I wouldn't give them an Allen charge

        4   without them saying they're deadlocked, but I think if you were

        5   to ask most jurors, not a single one of them knows that you

        6   could have partial verdicts.

        7            MR. RASHBAUM:    Nor should they, Your Honor.      Judge,

        8   they should not -- we should not be getting in the purview of

        9   their deliberations.

       10            THE COURT:     I don't.

       11            MR. RASHBAUM:    Well, that would be getting in their

       12   purview, Judge, because --

       13            THE COURT:     I'm going to overrule the objection.     I'm

       14   going to do that because it's the third day of deliberations and

       15   there's no prejudice.

       16            MR. RASHBAUM:     There is prejudice.

       17            THE COURT:     What is the prejudice?

       18            MR. RASHBAUM:    The prejudice is that you are giving

       19   some of these jurors the opportunity to say, we give up, we're

       20   going to compromise, and we're going to give verdicts on certain

       21   counts and not on other counts.

       22            THE COURT:    Absolutely not, because that is not what

       23   I'm doing.   I'm merely saying there is that possibility.       You

       24   should -- I'm not going to give them an Allen charge.        I'm just

       25   telling them, if you've reached decisions on some counts and not
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        1   others, that's perfect.     We can accept that because the law says

        2   that we can do that.    I've done that before.     It's been approved

        3   by not just the Eleventh Circuit, but a bunch of other circuits.

        4            MR. RASHBAUM:     It's been approved in situations where

        5   the jury has not come out and said that they're deadlocked and

        6   not come out with any --

        7            THE COURT:    Absolutely.

        8            MR. RASHBAUM:     -- questions on that?

        9            THE COURT:    No, there have been a lot of questions in

       10   this case.

       11            Mr. RASHBAUM:     No questions indicating that the jury is

       12   in any way whatsoever even close to deadlocked in this case.

       13            THE COURT:    You know, the fact that they're on the

       14   third day is an indication that they're struggling with it.

       15            MR. RASHBAUM:     Judge, I have had juries out for two

       16   weeks who have come back with complete verdicts.       It's an

       17   indication that this case has evidence and they're going through

       18   it.

       19            THE COURT:    They are.

       20            MR. RASHBAUM:     But the minute you start mentioning --

       21   as the judge of this court, the minute you start mentioning to

       22   these people anything about partial verdicts, whether you intend

       23   to or not, you're putting something in their minds about partial

       24   verdicts, and we would object to that, Your Honor.

       25            THE COURT:    All right.    But I'm going to bring them out
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        1   and see what they want to do, in any event, without pressuring

        2   them at all, because I've told them there's no minimum time, no

        3   maximum time.    I think it's only fair to let them know that

        4   after today, they could come back next week.       I'm here.   You're

        5   here.    They are here.     It's no big deal.

        6              I am not giving an Allen charge.     I've never given an

        7   Allen charge without the jury telling me they're deadlocked, but

        8   I think it's appropriate under the circumstances, in view of

        9   what's happening.      But your objection is preserved.   If I'm

       10   wrong and he is convicted, I guess if for some reason we accept

       11   partial verdicts, the acquittals, you would want me to strike

       12   those.

       13             MR. RASHBAUM:     That's not the point, Your Honor.

       14   That's not the point at all, and we all know what the point is.

       15   That's not the point at all.

       16             THE COURT:     The point is to preserve something for

       17   appeal just in case.

       18              MR. RASHBAUM:     No, the point is that the jury gets to

       19   deliberate without the Court's interference.

       20              THE COURT:     I never interfere with the --

       21               MR. RASHBAUM:    By you talking about partial verdicts,

       22   with all due respect, you're interfering with the jury.

       23             THE COURT:    Is it wrong under the law to accept partial

       24   verdicts?

       25             MR. RASHBAUM:     It is not, Your Honor, but they haven't
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        1   asked you to accept a partial verdict.

        2              THE COURT:    Because there's no way that a jury would

        3   say, may we render only partial verdicts?

        4              MR. RASHBAUM:   They've never done that before, Your

        5   Honor.     That's what you're telling --

        6              THE COURT:    No jury has ever done that before?

        7              MR. RASHBAUM:   Of course, they have.

        8               THE COURT:   They've said, may we have --

        9              MR. RASHBAUM:   Of course, they have.

       10              I would ask you to look at United States v. Regess

       11   (phonetic) in the Southern District of New York when the jury a

       12   week into the case said, can we --

       13              THE COURT:    Eleventh Circuit.      We're in the Eleventh

       14   Circuit.

       15              MR. RASHBAUM:   Okay.     And I'm sure it's been happening

       16   in this circuit before, too, Your Honor.         Maybe not before you,

       17   but it's the same thing as --

       18               THE COURT:   Like I said, 760-some jury trials, I've

       19   never seen it, but it could be the first time.

       20              Bring out the jurors, please.

       21       (The jury entered the courtroom at 3:35 p.m.)

       22              THE COURT:    Thank you, folks.      Have a seat and relax.

       23   We have the defendant, defense counsel, Government counsel, and

       24   we have all of the jurors.

       25              How are you all doing this afternoon?       Great?   All
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        1   right.

        2              Several things I want to tell you.    First, I always

        3   give an opportunity to the jurors, just like I did for you to

        4   walk during lunch, to walk into the courtroom.       Sometimes that's

        5   a good thing, and I told you when we selected you as jurors, and

        6   even now, there's no minimum time and there's no maximum time.

        7   So I don't want you to think that anybody, certainly not the

        8   judge, is interfering.    Remember, I said I'm a judge of the law,

        9   you're the judges of the facts.      You take as long as you want or

       10   as little as you want.

       11              But since I'm giving you the opportunity to stretch

       12   your legs -- it's not even the seventh inning stretch because

       13   you decide how long you stay, and I wanted to tell you because

       14   of a scheduling conflict that I have at the end of the day,

       15   though some days we have worked till 6:30 and thereabouts, today

       16   we are going to work only until around 5:00.       Okay?   That

       17   doesn't mean that you have to reach a decision by 5:00 on any

       18   count or on all the counts.     You can decide how many counts you

       19   want to reach decisions on, what counts you cannot reach

       20   decisions on, reach decision on all, one way or another.          That's

       21   your business, not the judge's business.      There's never any

       22   minimum.   But out of courtesy, then I'll bring you back.         Like I

       23   told you, now you're the decision-makers of your time, not just

       24   of the very important thing of deciding whether the Government

       25   has proven its allegations on each count.       You'll come back on
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        1   Monday and I have another jury trial, but we'll let you use the

        2   same jury room and we'll figure out what to do.             We've done that

        3   already in this case.

        4              But I don't want you to misinterpret.            I usually take

        5   an afternoon break with the jurors to see how long it takes.

        6   You're very conscientious.     Both sides are very appreciative of

        7   the care based on the questions that you've asked and how you

        8   are looking at exhibits in this very complicated case, going

        9   count by count.    You do what you want and you're free to ask

       10   questions if you want of each other.            You don't even have to ask

       11   me any questions.

       12              But out of courtesy, I thought I would let you know,

       13   because we have worked till 6:30 sometimes, that today it will

       14   be 5:00.    Again, that's not an indication that you should reach

       15   a decision on all counts before then.            You decide what you want

       16   to do, when you want to do it and how you want to do it.             All

       17   right?

       18              So I'm going to be doing other things.           So you keep

       19   working.   We won't interfere with you.           All right?

       20              Thank you very much.      We'll see you whenever you want

       21   to be seen.

       22              THE COURT SECURITY OFFICER:          All rise.

       23      (The jury retired from the courtroom at 3:37 p.m.)

       24              THE COURT:   All right.     So I've got to see you at 5:00,

       25   because I have another commitment.             All right?   So you have to
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        1   be here a little bit before 5.      All right?    See you then.

        2      (A recess was taken at 3:38 p.m. and the following

        3   proceedings were held at 5:16 p.m.)

        4            THE COURT:    Okay.   Defendant is present, defense

        5   counsel, Government counsel.

        6            I have questions from the jury, but they're not

        7   substantive.   They have to do with timing, which I think

        8   ratifies the Court's decision to tell them about -- without

        9   urging them to do anything in particular, just to be fair to

       10   them, which I think is always good in addition to being fair to

       11   the parties, including the defendant, to be fair to the jurors

       12   when I told them that they could come back next Monday.

       13            So this is the question:        We have a question regarding

       14   coming in on Monday.

       15            "Jansel Febres, Juror Number 14," because he was

       16       originally 14, "has a test for school on Monday at 4 p.m."

       17            "Number 2, Dineiska Rodriguez, Juror Number 12, has a

       18       doctor's appointment on Monday, but doesn't recall time, and

       19       mentioned that on day one."      And she did.

       20            We weren't thinking we would be here that long, which

       21   is why I indicated to the jurors who were scheduled to be here

       22   during this two-week period out of courtesy what I said before

       23   the recess.

       24            What say the defense to that?        What do you want me to

       25   tell these jurors who are thinking about what's going to happen
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        1   on Monday and it is 5:15?         What do you want me to tell them?

        2              MR. RASHBAUM:     We should accommodate their schedules.

        3   So if, you know --

        4              THE COURT:     Which means what?

        5              MR. RASHBAUM:     Which means if there's a time that all

        6   12 of them could be here on Monday, great.          If not, come back

        7   Tuesday.

        8              THE COURT:     And how do we determine what time on Monday

        9   can they come?

       10              MR. RASHBAUM:     I guess you would ask the two jurors

       11   whether they can be here on Monday or -- well, it's a test.           So

       12   I would ask them to come back Tuesday.

       13              THE COURT:     Pardon?

       14              MR. RASHBAUM:     I would say come back Tuesday if they

       15   can't be here on Monday.

       16              THE COURT:   Okay.     And, of course, when I say that, we

       17   will have another note on other jurors who can't come back

       18   Tuesday.

       19              MR. RASHBAUM:     Then I would say come back Wednesday.

       20              THE COURT:     Okay.    All right.    And that's reasonable?

       21              MR. RASHBAUM:     Yes.

       22              THE COURT:     Okay.   What say the Government?

       23              MR. JUENGER:    Well, Your Honor, I think Mr. Rashbaum's

       24   first impulse, which is to figure out if they can all be here on

       25   Monday, makes the most sense.
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        1              THE COURT:     Well, they cannot.      Two of them have told

        2   me.

        3              MR. JUENGER:     Well, I think one of them told you they

        4   couldn't be here after 4 or maybe before.

        5              THE COURT:   He has a test at 4 p.m.

        6              MR. JUENGER:    Right.     And the other one has some

        7   undetermined time for an appointment.

        8              THE COURT:     Okay.    We have to determine the time, which

        9   means she has to get the phone.          See, we don't give them phones,

       10   remember --

       11              MR. JUENGER:     Yes.

       12              THE COURT:     -- when they are deliberating?

       13              So we have to figure that out at 5:15.         So I probably

       14   should have given the instruction that I gave them even earlier

       15   so we could react to it reasonably in order to accommodate the

       16   jurors who have taken two weeks of their time to serve you all.

       17   All right.

       18              Shirley, have Ms. Rodriguez -- give her her phone.            See

       19   which one it is.    Take the phone, see if she can call to find

       20   out what time her doctor's appointment is.           Once we find that

       21   out, once she's done with that, we will bring her out and we

       22   will bring in Mr. Febres, too.

       23         (There was a brief discussion off the record.)

       24              THE COURT:     Ms. Rodriguez told my courtroom deputy that

       25   her appointment is at 2:00 in Kendall.           So let's bring in
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        1   Mr. Febres to see when he has to -- Jansel Febres, bring him

        2   out, please.    Febres.    Mr. Febres.

        3              THE COURT SECURITY OFFICER:           All rise.

        4       (Juror Jansel Febres Cotto entered the courtroom at 5:25

        5   p.m.)

        6              THE COURT:    Mr. Febres.       Okay.   Have a seat.   Any chair

        7   will do.

        8              You got your test on Monday at what time, 4:00?

        9              MR. FEBRES:    4, yes, sir.

       10              THE COURT:     What time would you have to leave?

       11              MR. FEBRES:    I think 3 would be all right.

       12              THE COURT:     All right.     Thank you.

       13              MR. FEBRES:    All right.

       14              THE COURT:    Go back.     Thank you very much.

       15       (Juror Jansel Febres Cotto retired from the courtroom at

       16   5:25 p.m.)

       17              THE COURT:    All right.      It's 5:25.     So what we'll do

       18   is -- they'll keep on deliberating, and if we have to recess,

       19   the two alternates are -- I've only done this once, but for them

       20   to come back on Saturday or Sunday, barring any religious

       21   objections, and coming back also, if necessary, on Monday

       22   morning at 8, and they can work from 8 until 12:30.            And then on

       23   Monday we will deal with Tuesday.            No point dealing with Tuesday

       24   now when we are not there yet.          So that's what we'll do.

       25              Any objections from the Government?
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        1            MR. JUENGER:    No objections from the Government.

        2            THE COURT:     From the defense?

        3            MR. RASHBAUM:     Judge, we object to them having to come

        4   in on the weekend.

        5            THE COURT:     Because?

        6            MR. RASHBAUM:     We think, again, the Court is pressuring

        7   them to make a decision.

        8            THE COURT:     Absolutely not.         And the record has been

        9   clear that I'm not pressuring.         From day one I said no minimum

       10   time and no maximum time.     Absolutely not.         I'll only do

       11   whatever the jurors want.

       12            MR. RASHBAUM:     Oh, so you're going to give them an

       13   option to come in on the weekend?

       14            THE COURT:    I will never force anybody to do anything.

       15   So I take umbrage at the word "pressure."            In all my years, I

       16   have never pressured the jury to do anything.           So when you make

       17   an accusations like that, you'd better back it up.

       18            MR. RASHBAUM:     Your last instruction, Your Honor, was

       19   inappropriate --

       20            THE COURT:    You've got it for the record.

       21            MR. RASHBAUM:     It was inappropriate, Your Honor.

       22            THE COURT:     I've overruled the objection.         You didn't

       23   even object after I gave it.       So you probably waived it.

       24            MR. RASHBAUM:     I'm objecting before, after, and I

       25   didn't object during.
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        1             THE COURT:    You did not object afterwards, but it's up

        2   to you to tell that to the Court of Appeals if you have to.

        3             MR. RASHBAUM:    Hopefully, I won't have to.

        4             THE COURT:    But you did not object afterwards.

        5             MR. RASHBAUM:    So, Judge, are you going to give them --

        6             THE COURT:    You did not object afterwards.      You

        7   objected before.     And if it's a wrong objection -- if it's a

        8   wrong instruction the way I said it, it's there.         Whatever I

        9   said is there, but it's obvious that it doesn't pressure the

       10   jurors because they haven't done anything about it.         I've always

       11   given the jurors the option to see how long they want to stay.

       12   That's how I've done it in every single trial and that's how

       13   I've done it in this case, again, ratified by the fact that it's

       14   5:30 in the afternoon, not 5:00 like I told them.

       15             I do not put pressure on jurors; never have and never

       16   will.   You disagree.   You made your objection before I gave the

       17   instruction, not after, and it's up to wiser judges to decide

       18   whether that was enough or whether what I said was modified by

       19   your suggestions afterwards.     It's up to them, not up to me.

       20             MR. RASHBAUM:   That's fine.       Judge, so you're going to

       21   give them the option then of coming in on the weekend, is that

       22   what I understand?

       23             THE COURT:    I always give the jurors the option to do

       24   whatever they want.

       25             MR. RASHBAUM:    Oh, okay.     That's fine.
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        1               THE COURT:   I always have.

        2               MR. RASHBAUM:   As long as you --

        3               THE COURT:   If you listen instead of getting so uppity

        4   about it, you would understand.

        5               MR. RASHBAUM:   Judge, there's nothing personal here.        I

        6   have a record to protect and a client to defend.

        7               THE COURT:   The record is protected when someone says

        8   something to the court reporter.

        9               MR. RASHBAUM:   I think the record speaks for itself,

       10   Your Honor.

       11               THE COURT:   It does indeed.      It does indeed.   That's

       12   what I've said.     It does indeed.

       13               Hang around the hallway, no farther than this floor,

       14   just in case --

       15               THE COURT SECURITY OFFICER:       All rise.

       16               THE COURT:   -- the jurors want to have a decision or a

       17   question.     Don't go farther than this floor.

       18            We're in recess.

       19      (A recess was taken at 5:33 p.m. after which the following

       20   proceedings were held at 6:04 p.m.)

       21               THE COURT:   I have a note from the jury that says --

       22   please be seated -- since it's almost 6:05 which is sunset,

       23   today anyway, "We would like to leave for today.          Thank you."

       24               So bring in the jurors and we will send them home, as

       25   they wish.
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        1              THE COURT SECURITY OFFICER:          All rise, please.

        2      (The jury entered the courtroom at 6:04 p.m.)

        3              THE COURT:    Thank you, folks.       Please be seated for

        4   just a second.

        5              I got your note that you want to go home and as is

        6   typical -- please be seated -- we'll let you do whatever you

        7   want.

        8              Now, you know what I'm going to say, and I know it's

        9   tiring.    Do not read anything about the case.         Do not talk to

       10   anybody about the case.        Do not see anything about the case.          Do

       11   not google or any other Internet search about this case.              All

       12   right?    Can you do that for the weekend?         And I assume that you

       13   all don't want to come in tomorrow or Sunday, right?

       14             MS. PADRON:    No.

       15              THE COURT:    See?    All right.      So consistent with

       16   letting you do whatever you want, Monday.

       17              Because we have got some conflicts in the afternoon,

       18   how about if we start earlier?         Can you do that?     But then you

       19   all really have to -- you avoid some of the traffic.            Is 8:30

       20   okay or do you want to do it at 8:00?

       21              MS. PADRON:    I can't --

       22              THE COURT:    Can you make it by 8:30?

       23              MS. PADRON:    Yes.

       24              THE COURT:    Okay.    All righty.     8:30 in the morning.

       25   As soon as the 12th person is there, you start deliberating.
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        1   You know the drill because it will be your fourth day.          No

        2   minimum, no maximum time.        Take all the time you want, as I've

        3   told you probably as often as I've told you not to google

        4   things, and I can tell you know that because you're all smiling

        5   at that instruction.     We want you to be conscientious, take this

        6   seriously, as you have, and take all the time you want.          I'll be

        7   doing other things, so we will find another jury room.          There's

        8   never any pressure whatsoever on you, except to follow the law

        9   and look at the evidence and I think that's what you're doing,

       10   and take all the time you want.

       11               All right.   So you'll work from 8:30 till -- is 1:00

       12   too late?    You can get to your doctor's appointment on time?

       13               Okay.   Till 1:00.     So eat -- I don't want to bring

       14   doughnuts again because sometimes I think they're not healthy,

       15   though I like them, but you can bring in something.          So we won't

       16   have a lunch break or anything like that.          Just work straight

       17   through, and then Tuesday, Wednesday, Thursday, Friday,

       18   Saturday, there's absolutely no problem whatsoever.          That's what

       19   I've said always in all of my jury trials that I've had, and you

       20   can take as long as you want.         All right?

       21               So have a good evening.        I think I can say that since

       22   it's 6:05 p.m.      All right?    It's sunset.

       23               See you Monday.      I'll stop in just to say good morning.

       24   Okay?   Thank you.

       25      (The jury retired from the courtroom at 6:08 p.m.)
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        1            THE COURT:     Okay.   Sit here for five minutes, maybe a

        2   little longer, so that they can go home.       And then I want you

        3   all back -- one lawyer for each side and the defendant to be

        4   here at 11:30 Monday morning.

        5            Is that understood, Mr. Grow?

        6            THE DEFENDANT:     Yes, Your Honor.

        7            THE COURT:    All right.     So then we'll see you then, but

        8   stay here for five minutes.

        9            MR. LARSEN:     All right.    Have a nice weekend.

       10        (The trial adjourned at 6:09 p.m.)

       11

       12                         C E R T I F I C A T E

       13            I hereby certify that the foregoing is an accurate

       14   transcription of proceedings in the above-entitled matter.

       15

       16   ________________
              09-10-18                 ______________________________________
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